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                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF KENTUCKY
                               LEXINGTON DIVISION


IN RE: TERRY MCINTOSH
       TRINA LAVELLE MCINTOSH                                             Case Number:      09-51889
       Debtors

                                      PROBATION ORDER

       This case came on for hearing on 02/02/2012 wherein the Court, having heard arguments and

    being otherwise sufficiently advised, it is HEREBY ORDERED:

       1) The Debtors shall have ninety (90) days from the date of this order within which to bring

       current their payments to the Trustee herein;

       2) The Debtors shall be on probation with respect to plan payments in the within case for a

       period of one (1) year from the date of this order and shall have a twenty-one (21) day grace

       period on payments coming due within that time; and

       3) Upon failure of the Debtors to make any payment as set forth in the above paragraphs, the

       Chapter 13 Trustee shall, without further motion or hearing, file with the Court a notice of

       failure to comply with the terms of this order and submit to the Court an order dismissing this

       Chapter 13 case for failure to make payments in accordance with the terms of the confirmed

       plan and the orders of the Court.

       It is directed that the Chapter 13 Trustee serve copies upon the persons named below.



    Copies to:

    TERRY MCINTOSH
    TRINA LAVELLE MCINTOSH
    150 OLD HOPEWELL ROAD SOU
    BEATTYVILLE, KY 41311
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      SANFORD, KATHERINE S
      APPALACHIAN RESEARCH & DEFENSE
      P O BOX 567
      RICHMOND , KY 40476-0567

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     Pursuant to Local Rule 9022-1(c), Beverly M. Burden shall cause a copy
     of this order to be served on each of the parties designated to receive this order
     pursuant to Local Rule 9022-1(a) and shall file with the Court a certificate of
     service of the order upon such parties within fourteen (14) days hereof.




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The affixing of this Court's electronic seal below is proof this document
has been signed by the Judge and electronically entered by the Clerk in the
official record of this case.

                                                                           Signed By:
                                                                           Tracey N. Wise
                                                                           Bankruptcy Judge
                                                                           Dated: Tuesday, February 07, 2012
                                                                           (jms)
